Case 2:05-cr-20110-.]DB Document 112 Filed 08/30/05 Page 1 of 2 Page|D 117

 

AT MEMPHIS
UNITED STATES OF AMERICA, )
Plaintiff §
vs § NO. 05-2(}110 JDB
OMRAN OMER, et al. §
Defendants §

 

ORDER GRANTTNG MOTION FOR ADDI'I`IONAL TIME TO FILE MOTI()NS

 

lt appearing to the Court that defendant ()mran Omer’s Motion for Additional Time to Fi|e

Motions is well taken and Should be granted

IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that defendant’$ Motion
for Additionaf Time to Fiie Motions is granted and defendant shall have Sixty (6(}) days from the

date of this order 10 file any necessary motions.

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.r) NIEL BREEN \
UNI ED sTATES DlSTRICT JUDGE

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w\th Rule 55 and/or 32(

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UNITED `sTEATs DsTIRICT COURT - WESERNT D's'TRCT 0 TEssEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 112 in
case 2:05-CR-20110 Was distributed by faX, mail, or direct printing on
August 31, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

